                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                      )
                                                )
               Plaintiff,                       )
                                                )
 v.                                             )      No.:   3:13-CR-106-TAV-CCS-5
                                                )
 JOY ELIZABETH BARRON,                          )
                                                )
               Defendant.                       )


                              MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s pro se motion requesting

 additional credit for time served and for a sentence reduction [Doc. 242].          In the

 defendant’s motion, the defendant requests that (1) she receive federal sentence credit for

 the six months that she was incarcerated prior to coming into federal custody in August

 2013; and (2) the Court resentence her pursuant to 18 U.S.C. § 3582(c)(2) and in

 accordance with Amendment 782 and Amendment 788 to the United States Sentencing

 Guidelines Manual. The government has responded [Doc. 244]. The government asserts

 that the defendant’s motion should be denied because (1) the Court has no statutory basis

 for granting jail credit and the defendant has not satisfied the prerequisites for judicial

 review; and (2) the defendant is not eligible for relief under § 3582(c)(2) because she was

 sentenced as a career offender.




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 I.     Motion for Credit for Time Served

        The calculation of a term of imprisonment for a federal prisoner, including any

 award of credit for time served, is governed by 18 U.S.C. § 3585.1 “This Court cannot

 grant or compute sentence credits under 18 U.S.C. § 3585(b). That task is reserved for

 the Attorney General of the United States through the [Bureau of Prisons].” United

 States v. Williams, 2008 WL 3850212, at *1 (W.D. Tenn. Aug. 18, 2008) (citing United

 States v. Wilson, 503 U.S. 329, 333–34 (1992) and United States v. Cobleigh, 75 F.3d

 242, 251 (6th Cir. 1996)).

        Thus, a prisoner seeking credit for time spent in custody must first exhaust her

 administrative remedies through the Bureau of Prisons, Wilson, 503 U.S. at 335, and


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            Section 3585 provides:

                  (a) Commencement of sentence.—A sentence to a term of
                  imprisonment commences on the date the defendant is received in
                  custody awaiting transportation to, or arrives voluntarily to
                  commence service of sentence at, the official detention facility at
                  which the sentence is to be served.

                  (b) Credit for prior custody.—A defendant shall be given credit
                  toward the service of a term of imprisonment for any time he has
                  spent in official detention prior to the date the sentence
                  commences—

                         (1) as a result of the offense for which the sentence was
                         imposed; or

                         (2) as a result of any other charge for which the defendant
                         was arrested after the commission of the offense for which
                         the sentence was imposed;

                  that has not been credited against another sentence.

 18 U.S.C. § 3585.
                                                   2


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 failing that, petition the district court for habeas corpus review pursuant to 28 U.S.C. §

 2241, McClain v. Bureau of Prisons, 9 F.3d 503, 505 (6th Cir. 1993). Any such petition

 generally should be filed in the district where the prisoner is being held. See United

 States v. Garcia-Echaverria, 374 F.3d 440, 449 (6th Cir. 2004) (“Absent special

 circumstances not present here, a petition for a writ of habeas corpus is properly filed

 only in a court that has personal jurisdiction over the alien’s immediate custodian.”).

        Here, the defendant is incarcerated in Aliceville, Alabama. Therefore, even if the

 defendant had exhausted her administrative remedies—which has not been shown—the

 Court would not have jurisdiction over any habeas corpus petition brought pursuant to §

 2241. Additionally, the defendant has not provided any other statutory basis for relief.

 See United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001) (stating that “[t]he authority

 of a district court to resentence a defendant is limited by statute” and “18 U.S.C. §

 3582(c)(1)(B) expressly prohibits . . . resentencing of a defendant beyond those

 exceptions expressly enacted by Congress”). Therefore, the Court concludes that it lacks

 jurisdiction to grant the defendant relief.

 II.    Motion for Sentence Reduction

        A.     Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

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       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the
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 defendant was originally sentenced, the Court “shall leave all other guideline application

 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C).2 In addition to these limits, section 1B1.10 states that a court must

 also consider the § 3553 factors and the danger to the public created by any reduction in a

 defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

 post-sentencing conduct. Id.

        B.     Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.               Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

        Even if Amendment 782 were to lower the defendant’s offense level under

 Chapter Two, the career-offender provisions of Chapter Four would still apply. U.S.

 Sentencing Guidelines Manual § 1B1.10(b)(1) (directing the Court to “leave all other

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          Section 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B).
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 guideline application decisions unaffected”).     Section 4B1.1(b) provides that “if the

 offense level for a career offender . . . is greater than the offense level otherwise

 applicable, the offense level [as a career offender] shall apply.” That was the case here.

        Accordingly, the Court lacks jurisdiction under § 3582(c) to modify the

 defendant’s sentence. See, e.g., United States v. Riley, 726 F.3d 756, 759 (6th Cir. 2013)

 (stating that “the sentences of career offenders under § 4B1.1 are not based on the §

 2D1.1 ranges” (footnote omitted)); United States v. Thompson, 714 F.3d 946, 950 (6th

 Cir. 2013) (noting that defendant’s “status as a career offender essentially trumped the

 range established under the [drug] guidelines”); United States v. Payton, 617 F.3d 911,

 914 (6th Cir. 2010) (explaining that “a defendant convicted of [drug] charges but

 sentenced as a career offender under U.S.S.G. § 4B1.1 is not eligible for a reduction

 based on [a retroactive amendment to the drug guidelines]” (internal quotation marks and

 citations omitted))); United States v. Perdue, 572 F.3d 288, 292–93 (6th Cir. 2009)

 (same).

 III.   Conclusion

        For the reasons stated herein, the defendant’s motion [Doc. 242] is DENIED.

        IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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